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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

PHILIP COOK                                          )
                                                     )
               Plaintiff,                            )
                                                     )
        v.                                           ) CAUSE NO. 2:19-cv-00361-JTM-JEM
                                                     )
NORFOLK SOUTHERN CORPORATION                         )
and NORFOLK SOUTHERN RAILWAY                         )
COMPANY                                              )
                                                     )
               Defendants.                           )


                    REPORT OF THE PARTIES’ PLANNING MEETING

1.      In accordance with Fed. R. Civ. P. 26(f), a meeting was held on November 19, 2019 via
        telephone and was attended by

        Benjamen W. Murphy for Plaintiff Philip Cook;

        Miao Cheng for Defendant Norfolk Southern Corporation and Norfolk Southern Railway
        Company.

2.      Jurisdiction and Venue.

        The Court has jurisdiction under 28 U.S.C. § 1332(a). The parties agree that plaintiff’s
        action against defendant Norfolk Southern Corporation arises under Indiana law, that the
        parties are completely diverse, and that the amount in controversy exceeds $75,000,
        exclusive of interest and costs.

        Venue is proper pursuant to 28 U.S.C. § 1391 because the accident at issue in this action
        occurred in Jasper County, Indiana, and, thus, this district constitutes the district where “a
        substantial part of the events or omissions giving rise to the claim occurred.” Venue is
        proper pursuant to 28 U.S.C. § 94(a)(3) because the Northern District of Indiana,
        Hammond Division, includes Jasper County.

3.      Pre-Discovery Disclosures. The parties will exchange the information required by Fed. R.
        Civ. P. 26(a)(1) by February 3, 2020.

4.      Discovery Plan. The parties jointly propose the following discovery plan:
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A.      Discovery will be needed on the following subjects: The facts of the occurrence and
        Plaintiff’s alleged injuries and damages.

B.      Disclosure or discovery of electronically stored information should be handled as
        follows: Parties will cooperate to ensure all electronic information is preserved and
        produced.

        Electronic discovery shall be produced to the requesting party in a commercially
        reasonable manner. If a party requests documents that are stored in an electronic format,
        the disclosing party may provide the requesting party printed copies of the documents or
        may provide the requesting party copies of the documents on CD or DVD, by e-mail, or
        by other electronic means. If the receiving party determines in good faith that a disclosure
        of a document in a printed format does not adequately allow the party to review the
        document, the receiving party may request to be provided an electronic copy. If a
        requesting party requests that examination of any hard drives, servers, computers, voice
        mail systems, or other electronic devices or components, such disclosure shall be made in
        a commercially reasonable manner.

        At this time, the parties do not request an order specifically addressing claims of privilege
        or other protection that may be asserted after the production of documents, as they do not
        expect this to occur. But, they agree to abide by the provisions outlined herein, and to
        work cooperatively (as required by Rule 26 and Local Rule 37.1) in resolving any related
        discovery disputes, including any claims of privilege that may be asserted at any time.

C.      The last day for the completion of all discovery is August 3, 2020.

D.      Maximum of 25 interrogatories by each party to any other party.
        Maximum of 25 request for admission by each party to any other party.
        Maximum of 5 depositions by plaintiff and 5 by defendant(s).
        Each deposition is limited to a maximum of 7 hours unless extended by stipulation.

E.      The filing of reports from retained experts under Fed. R. Civ. P. 26(a)(2) due by:

        June 3, 2020 for Plaintiff;
        July 3, 2020 for Defendants;

F.      Any evidentiary objections to another party’s expert witness, whether directed to the
        witness’s qualifications or to the foundation for the anticipated testimony, shall be filed
        by November 3, 2020. Counsel stipulate that a failure to file such objection is waiver of
        any objection to opinion testimony outlined in the statement filed by the witness’s
        proponent.

G.      The parties will supplement their discovery responses, pursuant to Fed. R. Civ. P. 26(e),
        throughout the course of discovery and before trial. Fed. R. Civ. P. 26(a)(2) disclosures
        shall not be filed with the Court.



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5.      Other Items.

A.      The last date the plaintiff may seek permission to join additional parties and to amend the
        pleadings is April 1, 2020.

B.      The last date the defendants may seek permission to join additional parties and to amend
        the pleadings is May 4, 2020.

C.      The last date for the filing of all potentially dispositive motion is September 3, 2020.

D.      The time to file Fed. R. Civ. P. 26(a)(3) pretrial disclosures will be governed by separate
        order.

E.      The parties have agreed upon John Hughes as mediator. Thirty (30) days before the final
        pretrial conference counsel will provide a written status report to the ADR administrator
        regarding the status of mediation.

F.      This case should be ready for jury trial by January 2021 and at this time is expected to
        take approximately 3 days.




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Date: December 2, 2019




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APPROVED AND SO ORDERED:




Date: ________________              __________________________________________
                                    John E. Martin
                                    United States Magistrate Judge



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